                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

UNITED STATES OF AMERICA,                            )
          Respondent,                                )
                                                     )
v.                                                   )      No. 2:11-CR-81
                                                     )
                                                     )
VICTOR L. LOVEDAY, SR.,                              )
           Petitioner.                               )

                               MEMORANDUM AND ORDER

        This criminal case is before the Court on the motion of defendant’s motions for a

reduction of sentence, [Docs. 820 and 854]. Defendant requests a reduction in sentence pursuant

to Amendments 782 and 788 to the United States Sentencing Guidelines. The United States has

responded and acknowledges the defendant is eligible for a reduction in sentence but defers to the

Court’s discretion whether and to what extent to reduce defendant’s sentence, [Doc. 864]. The

motions will be GRANTED in part.

I. Factual and Procedural Background

        The defendant was convicted of participating in a conspiracy to distribute and possess

with intent to distribute 1,000 kilograms or more of marijuana in violation of 21 U.S.C. §§ 846

and 841(a)(1), (b)(1)(A). He was held accountable for at least 1,000 but less than 3,000 kilograms

of marijuana, resulting in a base offense level of 32. The base offense level was decreased by

three levels pursuant to USSG § 3E1.1(a) & (b) (acceptance of responsibility), resulting in a total

offense level of 29. The guidelines range was restricted to 240 months due to the mandatory

minimum because of a prior drug conviction. The United States filed a motion for downward

departure pursuant to 18 U.S.C. § 3553(e) and USSG § 5K1.1. The government recommended a




                                                1

     Case 2:11-cr-00081-JRG-MCLC          Document 903         Filed 10/30/15     Page 1 of 7
                                        PageID #: 6002
four-level reduction to a range of 151 to 18 months. The Court granted the motion and imposed a

151-month sentence of imprisonment, a 37 percent reduction.

       At the time of the entry of his guilty plea, the defendant stipulated to the following facts:

              a) Through the testimony of several witnesses, including co-
              conspirators, the United States would demonstrate, beyond a
              reasonable doubt, that between January of 2003 and September
              of 2011, in the Eastern District of Tennessee, the defendant did
              knowingly, intentionally, and without authority, conspire with at
              least one other person to distribute and to possess with the intent
              to distribute at least 1,000 kilograms but less than 3,000 kilograms
              of marijuana, a Schedule I controlled substance.

              b) During the course of the conspiracy, the defendant distributed
              marijuana which he obtained from co-defendants Buford Rogers
              and William McMahan, Jr.

              c) Beginning in the early 2000's, co-defendants Rogers and
              McMahan, Jr. supplied the defendant monthly with bulk quantities
              of marijuana which the defendant then re-sold. The defendant
              admits that he obtained and distributed between 1,000 and 3,000
              kilograms of marijuana between January of2003 and May of2010.

              d) On May 13, 2009, a confidential informant attempted to
              purchase 2 pounds of marijuana from co-defendant Victor Loveday,
              Jr., the defendant's son. After surveillance was conducted at
              a meeting between Loveday, Jr. and Buford Rogers in Knoxille,
              agents followed Rogers to another location where they observed
              him retrieve a duffle bag from garage. Agents then observed
              Rogers return to his residence and a car with Georgia plates leave
              the residence. Loveday, Jr. later told the confidential informant that
              Rogers had given the marijuana to the defendant, instead.

              e) On June 24, 2009, a confidential informant purchased one pound
              of marijuana from the defendant. During the transaction, the
              defendant, talked about previous marijuana transactions and said
              that four or five years ago he was selling 125 to 150 pounds of
              marijuana a week. The defendant then said that out of the last load
              they got, he received 230 pounds, and co-defendant
              McMahan received 270 pounds.

              f) On August 9, 2009, a confidential informant purchased one
              pound of marijuana from the defendant. During the conversation,
              the defendant said that years ago, he and co-defendant Rogers were


                                                  2

   Case 2:11-cr-00081-JRG-MCLC             Document 903          Filed 10/30/15      Page 2 of 7
                                         PageID #: 6003
        getting a thousand pounds of marijuana at a time.

        g) On September 2, 2009, a confidential informant had a recorded
        conversation with the defendant. During the conversation, the
        defendant said that he had missed "Billy Mac's call." The defendant
        said that he was going to Atlanta to get a load of marijuana and that
        Billy Mac said he would take a ton. The defendant quoted a price
        of$850.00 per pound to the CI. The defendant told the CI that he
        would try to get 500 pounds. The defendant admits that Billy Mac
        is co-defendant William McMahan.

        h) On September 2, 2009, a confidential informant had a recorded
        conversation with the defendant. During the conversation, the
        defendant said that they were going to pick up 200 pounds
        of marijuana on September 8, 2009.

        i) During January, February, March, and April of2010, in numerous
        intercepted telephone calls, the defendant spoke with co-defendant
        McMahan about attempting to secure a source of supply of
        marijuana from an individual or individuals in Atlanta, Georgia.
        Between February and April, the defendant and McMahan made
        four separate trips to Atlanta in order to negotiate the
        marijuana transactions. On April12, 2010, during an intercepted
        telephone call, McMahan suggested that the defendant offer a trade
        with the marijuana suppliers. McMahan said he would give them
        the residence at 131 Cross Creek, Maynardville, Tennessee, free
        and clear for 200 pounds of marijuana, however, no agreement was
        ever reached regarding the price of the marijuana they were
        attempting to purchase.

        j) On July 27, 2010, the defendant gave a statement to law
        enforcement agents, after being advised of his rights per Miranda.
        During his statement, the defendant admitted that he had
        begun distributing marijuana in 2003 or 2004 that he was obtaining
        from co-defendant Rogers. The defendant admitted that between
        2003 and 2005, he was selling, at times, 100 pounds of marijuana
        a week. The defendant further admitted that he was paying between
        $600 and $675 per pound and was reselling the marijuana at $750
        per pound. The defendant admitted that in 2008, he and Rogers
        were attempting to re-com1ect with Rogers' source of supply for
        marijuana. The defendant said that in March of April of 2009,
        Rogers obtained a shipment of approximately 500 pounds of
        marijuana. The defendant said that McMahan received half of that
        shipment and that the defendant received approximately 220
        pounds of marijuana. The defendant admitted that in late 2009, he
        and McMahan were attempting to obtain a new source of supply for


                                         3

Case 2:11-cr-00081-JRG-MCLC        Document 903         Filed 10/30/15     Page 3 of 7
                                 PageID #: 6004
               marijuana from an individual in Atlanta, Georgia.

               k) The defendant admits that, in total, he is responsible for
               distributing between 1,000 and 3,000 kilograms of marijuana.

               1) The defendant further admits that he made an average of$100 per
               pound of marijuana that he distributed, or, conservatively,
               $440,000.

[Doc. 333].

II. Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

imprisonment that has been imposed on a defendant “who has been sentenced to a term of

imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.”              18 U.S.C. §

3582(c)(2).    Section 1B1.10 identifies the guideline amendments that may be applied

retroactively, and sets out the factors for deciding a sentence reduction motion under § 3582(c).

The Supreme Court has made clear that § 3582 does not require a sentencing or resentencing

proceeding, but gives courts the power to reduce an otherwise final sentence under circumstances

established by the Sentencing Commission. Dillon v. United States, 560 U.S. 817 (2010); United

States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010); USSG § 1B1.10, cmt. background (noting that




                                                4

   Case 2:11-cr-00081-JRG-MCLC            Document 903         Filed 10/30/15     Page 4 of 7
                                        PageID #: 6005
a reduction under § 1B1.10 is discretionary and “does not entitle a defendant to a reduced term of

imprisonment as a matter of right”).

       Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

the defendant is eligible for a sentence reduction. If he is, the court must then consider whether,

in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.

Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir.

2013). In exercising its discretion, the court is required to consider public safety factors and is

permitted to consider post-sentencing conduct in deciding whether a reduction in the defendant’s

term of imprisonment is warranted. USSG § 1B1.10, cmt. (n. 1(B)(ii)-(iii)). Thus, the district

court is required to consider both the § 3553(a) factors and “the nature and seriousness of the

danger to any person or the community that may be posed by a reduction in defendant’s term of

imprisonment.” Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, cmt. n. 1(B)(ii)).

       One other factor is relevant to the instant motion. Ordinarily, a defendant’s sentence may

not be reduced to a term “less than the minimum of the amended guideline range.” USSG §

1B1.10(b)(2)(A). But where, as here, defendant previously received a below-guideline sentence

“pursuant to a government motion to reflect the defendant’s substantial assistance to authorities,”

the Court has authority to grant a reduction “comparably less than the amended guideline range.”

USSG § 1B1.10(b)(2)(B). In addition, where, as is the case here, the defendant obtained a

downward departure pursuant to 18 U.S.C. § 3553(e), “the amended guideline range shall be

determined without regard to the operation of § 5G1.1 . . . and § 5G1.2.” USSG § 1B1.10(c).

       The relevant factors here demonstrate that a reduction is appropriate but that the reduction

should be less than that requested by defendant. First is the seriousness of defendant’s criminal

conduct. The defendant was a substantial participant in a very serious conspiracy to distribute a



                                                 5

   Case 2:11-cr-00081-JRG-MCLC             Document 903         Filed 10/30/15      Page 5 of 7
                                         PageID #: 6006
very large quantity of marijuana. The defendant personally ordered large quantities of marijuana

and distributed pound quantities on numerous occasions. He participated in the conspiracy

dealing in large quantities for a lengthy period of time. In addition, the defendant’s criminal

history is also an important consideration. The defendant had a prior drug conviction which is a

significant factor.

        Protection of the public and necessary general deterrence are also significant factors which

weigh against the requested reduction here, given the seriousness of the criminal conduct and the

large amount of marijuana involved in the offense. One final factor also weighs against the full

reduction sought by defendant.      The defendant faced a congressionally imposed 240-month

mandatory minimum term of imprisonment as a result of his conviction. The only reason he

escaped that 240-month minimum term, then or now, was the government’s motion for downward

departure based on substantial assistance. At the time of sentencing, the clear rule in the Sixth

Circuit was that “only factors relating to a defendant’s cooperation may influence the extent of a

departure pursuant to § 3553(e).” United States v. Grant, 636 F.3d 803, 814 (6th Cir. 2011) (en

banc). This Court reviewed the government’s motion outlining the assistance provided by the

defendant and concluded at the time that the sentence imposed reflected the extent of his

cooperation. The policy bases upon which the Sixth Circuit premised its holding remain the

same, even though the defendant is now eligible for the reduction based on the amendment to the

guidelines.   Since the only way defendant escaped the congressionally imposed mandatory

minimum was for substantial assistance to the government, it is perfectly logical that the extent of

the reduction should be determined based on the extent of assistance.

        As the government points out, a reduction to the level sought by the defendant would

result in an 80 percent reduction from the mandatory minimum.            Such a reduction is not



                                                 6

   Case 2:11-cr-00081-JRG-MCLC             Document 903        Filed 10/30/15      Page 6 of 7
                                         PageID #: 6007
warranted here under the circumstances outlined above. The Court will, however, in the exercise

of its discretion, in light of the defendant’s lack of disciplinary history during his incarceration

and his post-sentencing efforts at rehabilitation, including a drug program, grant some additional

reduction in the case. Therefore, the defendant’s motions are GRANTED, and his sentence will

be reduced to a term of 114 months of imprisonment.

       This order is effective November 2, 2015.

       ENTER:



                                                                       s/J. RONNIE GREER
                                                                 UNITED STATES DISTRICT JUDGE




                                                 7

   Case 2:11-cr-00081-JRG-MCLC             Document 903        Filed 10/30/15      Page 7 of 7
                                         PageID #: 6008
